        Case 7:08-cv-00177 Document 167 Filed on 04/02/21 in TXSD Page 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

    UNITED STATES OF AMERICA,          §
                      Plaintiff,       §
                                       §
 v.                                    §        CASE NO. 7:08-CV-177
                                       §
 3.17 ACRES OF LAND, MORE OR           §
 LESS, SITUATED IN STARR COUNTY,       §
 TEXAS; AND JUAN MONTALVO,             §
 ET AL.,                               §
                    Defendants.        §
______________________________________________________________________________

               UNITED STATES OF AMERICA’S STATUS REPORT
______________________________________________________________________________

           On February 8, 2021, the Court set a deadline for the United States of America (hereinafter

“United States”) to file a status report by April 2, 2021. 1 Pursuant to that Order, the United States

hereby inform the Court as follows:

           1.       At the status conference on October 21, 2019, the Court ratified the United States’

plan to file a joint motion requesting partial judgment for each tract as the issue of just

compensation was resolved, with the joint motion for the final tract requesting a final judgment

for the case in its entirety.

           2.       The issue of just compensation has been resolved as to Tracts RGV-RGC-1104,

RGV-RGC-1082, RGV-RGC-1081, RGV-RGC-1080, RGV-RGC-1079, RGV-RGC-1079E,

RGV-RGC-1077, and RGV-RGC-1077E.

           3.       The issue of just compensation is still pending as to tracts RGV-RGC-1078 and

RGV-RGC-1078E.




1
    Dkt. No. 164.


                                                 Page 1 of 4
      Case 7:08-cv-00177 Document 167 Filed on 04/02/21 in TXSD Page 2 of 4




                                      Tract RGV-RGC-1078 and 1078E

         4.       On December 9, 2020, the Court reset the December 15, 2020 status conference to

February 16, 2021, at the request of Defendants Noelia Montalvo Muñoz and Sylvia M. Ramirez

so they could have additional time to grieve their mother’s passing and consider the United States’

counteroffer from July 27, 2020. 2

         5.       Defendants Noelia Montalvo Muñoz and Sylvia M. Ramirez remain unable to make

a final decision on the pending counteroffer in light of President Biden’s January 20, 2021

Presidential Proclamation terminating the national emergency at the southern border of the United

States and directing “a careful review of all resources appropriated or redirected to construct a

southern border wall” through the development of “a plan for the redirection of funds concerning

the southern border wall.” 3

         6.       The Proclamation calls for a “careful review of all resources appropriated or

redirected to construct a southern border wall” and requires a plan be developed within 60 days

from the date of the Proclamation. 4

         7.       Tracts RGV-RGC-1078 and 1078E were acquired under the Secure Fence Act of

2006 5, and title has vested in the United States by operation of law. 6

         8.       To date, there has been no construction on Tracts RGV-RGC-1078 and 1078E and

the United States has not yet obtained possession of these tracts.



2
  Dkt. No. 160.
3
  Pres. Proc. No. 10142, 86 Fed. Reg. 7225 (Jan. 20, 2021), https://www.whitehouse.gov/briefing-room/presidential-
actions/2021/01/20/proclamation-termination-of-emergency-with-respect-to-southern-border-of-united-states-and-
redirection-of-funds-diverted-to-border-wall-construction/.
4
  Id. at Sec. 2.
5
  Dkt. Nos. 2 at Schedule A, 23 at Schedule AA.
6
  Upon the filing of the Declaration of Taking and depositing the estimated compensation in the Registry of the Court,
the following events occur by operation of law: “(1) title to the estate or interest specified in the declaration vests in
the Government; (2) the land is condemned and taken for the use of the Government; and (3) the right to just
compensation for the land vests in the persons entitled to the compensation.” 40 U.S.C. § 3114(b); see Dkt. Nos. 2, 4.


                                                       Page 2 of 4
        Case 7:08-cv-00177 Document 167 Filed on 04/02/21 in TXSD Page 3 of 4




           9.       The United States continues to await guidance in response to the Presidential

Proclamation. 7

           10.      On March 30, 2021, Defendants Noelia Montalvo Muñoz and Sylvia M. Ramirez

requested an additional continuance. 8

                                                                Respectfully submitted,

                                                                JENNIFER B. LOWERY
                                                                Acting United States Attorney
                                                                Southern District of Texas


                                                       By:      s/ Megan Eyes __
                                                                MEGAN EYES
                                                                Assistant United States Attorney
                                                                Southern District of Texas No. 3135118
                                                                Florida Bar No. 0105888
                                                                1701 W. Bus. Hwy. 83, Suite 600
                                                                McAllen, TX 78501
                                                                Telephone: (956) 618-8010
                                                                Facsimile: (956) 618-8016
                                                                E-mail: Megan.Eyes@usdoj.gov
                                                                Attorney in Charge for Plaintiff

                                                                and

                                                                s/ N. Joseph Unruh________
                                                                N. JOSEPH UNRUH
                                                                Assistant United States Attorney
                                                                Southern District of Texas No. 1571957
                                                                Texas Bar No. 24075198
                                                                1701 W. Bus. Hwy. 83, Suite 600
                                                                McAllen, TX 78501
                                                                Telephone: (956) 618-8010
                                                                Facsimile: (956) 618-8016
                                                                E-mail: Neil.Unruh@usdoj.gov
                                                                Attorney for Plaintiff




7
    Pres. Proc. No. 10142, 86 Fed. Reg. 7225 (Jan. 20, 2021).
8
    Dkt. No. 166.


                                                      Page 3 of 4
     Case 7:08-cv-00177 Document 167 Filed on 04/02/21 in TXSD Page 4 of 4




                                  CERTIFICATE OF SERVICE

          I certify that on April 2, 2021, a copy of the foregoing was electronically filed in the

CM/ECF system, which will automatically serve a Notice of Electronic Filing on counsel of

record.

                                              By:     s/ Megan Eyes________
                                                      MEGAN EYES
                                                      Assistant United States Attorney




                                             Page 4 of 4
